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                            IN THE UNITED STATES DISTRICT COURT
1                           FOR THE MIDDLE DISTRICT OF FLORIDA
2
                                                       §
3    Joshua Lynch,                                     §
                                                       §
4                         Plaintiff,                   §      Civil Action No.
                                                       §
5         v.                                           §
                                                       §
6    Pro Custom Solar LLC d/b/a Momentum               §      Jury Trial Demanded
     Solar,                                            §
7
                                                       §
                           Defendant.                  §
8
                                                       §
9
                                               COMPLAINT
10
            Joshua Lynch (Plaintiff), by and through his attorneys, Kimmel & Silverman, P.C.,
11
     alleges the following against Pro Custom Solar LLC d/b/a Momentum Solar (Defendant):
12
                                             INTRODUCTION
13

14
            1.      Plaintiff’s Complaint is based on the Telephone Consumer Protection Act

15   (“TCPA”), 47 U.S.C. §227, et seq.

16                                     JURISDICTION AND VENUE

17          2.      This Court has subject-matter jurisdiction over the TCPA claims in this action

18   under 28 U.S.C. § 1331, which grants this court original jurisdiction of all civil actions arising
19
     under the laws of the United States. See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 386-87
20
     (2012) (confirming that 28 U.S.C. § 1331 grants the United States district courts federal-
21
     question subject-matter jurisdiction to hear private civil suits under the TCPA).
22
            3.      This Court has personal jurisdiction over Defendant because Defendant regularly
23
     conducts business in the State of Florida and because the occurrences from which Plaintiff’s
24
     cause of action arises took place and caused Plaintiff to suffer injury in the State of Florida.
25



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            4.       Venue is proper under 28 U.S.C. § 1391(b)(2).
1
                                                 PARTIES
2

3
            5.       Plaintiff is a natural person residing in Lutz, Florida, 33558

4           6.       Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).

5           7.       Defendant is a business entity with principal place of business, head office, or

6    otherwise valid mailing address at 3096 Hamilton Boulevard, Suite 2B, South Plainfield, New
7    Jersey 07080.
8
            8.       Defendant is a “person” as that term is defined by 47 U.S.C. § 153(39).
9
            9.       Defendant acted through its agents, employees, officers, members, directors,
10
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and/or
11
     insurers.
12
                                       FACTUAL ALLEGATIONS
13

14          10.      Plaintiff has a cellular telephone number ending in 9852.

15          11.      The area code for the number ending in 9852 is 214.

16          12.      Area code 214 is an area code used in the Tampa area.
17          13.      Plaintiff has only used this cellular telephone number for residential purposes.
18
            14.      Defendant called Plaintiff on his cellular telephone beginning in or around
19
     February 2020.
20
            15.      Defendant did not have Plaintiff’s consent to call on his cellular telephone
21
     number.
22
            16.      Plaintiff did not request information from Defendant regarding solar energy.
23
            17.      Plaintiff’s telephone number ending in 9852 has been on the Do Not Call
24

25
     Registry since December 30, 2005.



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            18.     Upon information and belief, when contacting Plaintiff, Defendant used a dialing
1
     system which had the capacity to store or call phone numbers using a random or sequential
2

3
     number generator.

4           19.     Upon information and belief, Defendant maintains a stored list of 10 digit

5    telephone numbers of consumers in its database for collection and communication purposes.

6           20.     Upon information and belief, Defendant utilize a “predictive dialing system”
7    which interfaces with software and databases which have the capacity to generate numbers
8
     randomly or sequentially.
9
            21.     The dialing system used by Defendant call phone numbers stored in those
10
     databases.
11
            22.     Accordingly, Defendant’s dialing systems have the capacity to dial numbers
12
     using a random or sequential number generator.
13
            23.     Upon information and belief, Defendant’s dialing systems include equipment
14
     which dials from the stored list of 10 digit consumer telephone numbers.
15

16          24.     Defendant’s dialing systems employ computer code and/or algorithms which

17   result in it randomly or sequentially generating numbers in order to select and dial the stored

18   10-digit consumer telephone number from the list.

19          25.     Furthermore, Defendant’s dialing systems use computer code and/or algorithms
20   to determine the orders/sequence of calls to be automatically dialed.
21
            26.     The operation of the random/sequential number generator, referred to above
22
     results in Defendant’s dialing system automatically placing calls to the 10 digit telephone
23
     numbers in Defendant’s stored list(s).
24

25



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            27.     Plaintiff believes and avers that Defendant called her with an automatic
1
     telephone dialing system. Plaintiff believes this because Defendant’s calls to Plaintiff began
2

3
     with a noticeable pause or delay prior to a live representative of Defendant coming on the line.

4           28.     While Plaintiff has not had the benefit of discovery, she intends to prove

5    Defendant utilized an automatic telephone dialing system in the course of discovery.

6           29.     Defendant’s telephone calls were not made for “emergency purposes” but rather
7    were to offer solar energy services.
8
            30.     Plaintiff found Defendant’s repeated calls annoying, frustrating, upsetting,
9
     harassing, and an invasion of her privacy.
10
            31.     Upon information and belief, Defendants conduct business in a manner which
11
     violates the Telephone Consumer Protection Act.
12
                                         COUNT I
13                       DEFENDANT VIOLATED THE TCPA 47 U.S.C. §227(b)
14
             32.    Plaintiff incorporates the forgoing paragraphs as though the same were set forth
15
     at length herein.
16
             33.    The TCPA prohibits placing calls using an automatic telephone dialing system or
17
     automatically generated or prerecorded voice to a cellular telephone except where the caller has
18
     the prior express consent of the called party to make such calls or where the call is made for
19
     emergency purposes. 47 U.S.C. § 227(b)(1)(A)(iii).
20
             23.    Defendant initiated multiple telephone calls to Plaintiff’s cellular telephone
21

22   number using an automatic telephone dialing system.

23           24.    The dialing system used by Defendant to call Plaintiff’s cellular telephone calls

24   telephone numbers without being prompted by human intervention before each call.

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                25.   The dialing system used by Defendant to call Plaintiff has the present and/or
1
     future capacity to dial numbers in a random and/or sequential fashion.
2

3
                26.   Defendant’s calls were not made for “emergency purposes.”

4               27.   Defendant’s calls to Plaintiff’s cellular telephone were without any prior express

5    consent.

6               28.   Defendant contacted Plaintiff despite the fact that Plaintiff has been on the Do
7    Not Call Registry since December 30, 2005.
8
                29.   Defendant’s acts as described above were done with malicious, intentional,
9
     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
10
     purpose of harassing Plaintiff.
11
                30.   The acts and/or omissions of Defendant were done unfairly, unlawfully,
12
     intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal
13
     defense, legal justification or legal excuse.
14
                31.   As a result of the above violations of the TCPA, Plaintiff has suffered the losses
15

16   and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles

17   damages.

18                                       COUNT II
                         DEFENDANT VIOLATED THE TCPA 47 U.S.C. § 227(c)
19
                32.   Plaintiff incorporates the forgoing paragraphs as though the same were set forth
20
     at length herein.
21

22              33.   The TCPA prohibits any person or entity of initiating any telephone solicitation

23   to a residential telephone subscriber who has registered their telephone number on the National

24   Do-Not-Call Registry of persons who do not wish to receive telephone solicitations that is

25   maintained by the Federal Government. 47 U.S.C. § 227(c).


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            34.     Defendant contacted Plaintiff despite the fact that Plaintiff has been on the Do
1
     Not Call Registry since December 30, 2005.
2

3
            35.     Defendant called Plaintiff on multiple occasions during a single calendar year

4    despite Plaintiff’s registration on the Do Not Call list.

5           36.     Defendant’s acts as described above were done with malicious, intentional,

6    willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
7    purpose of harassing Plaintiff.
8
            37.     The acts and/or omissions of Defendant were done unfairly, unlawfully,
9
     intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal
10
     defense, legal justification or legal excuse.
11
            38.     As a result of the above violations of the TCPA, Plaintiff has suffered the losses
12
     and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles
13
     damages.
14

15

16           Wherefore, Plaintiff, Joshua Lynch, respectfully prays for judgment as follows:

17                  a.      All actual damages Plaintiff suffered (as provided under 47 U.S.C. §

18                          227(b)(3)(A));

19                  b.      Statutory damages of $500.00 per violative telephone call (as provided
20                          under 47 U.S.C. § 227(b)(3)(B));
21
                    c.      Additional statutory damages of $500.00 per violative telephone call (as
22
                            provided under 47 U.S.C. § 227(C);
23
                    d.      Treble damages of $1,500.00 per violative telephone call (as provided
24
                            under 47 U.S.C. § 227(b)(3));
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                  e.      Additional treble damages of $1,500.00 per violative telephone call (as
1
                          provided under 47 U.S.C. § 227(c);
2

3
                  f.      Injunctive relief (as provided under 47 U.S.C. § 227(b)(3) and (c); and

4                 g.      Any other relief this Honorable Court deems appropriate.

5

6                                  DEMAND FOR JURY TRIAL
7          Please take notice that Plaintiff, Joshua Lynch, demands a jury trial in this case.
8

9
                                                Respectfully submitted,
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     Dated: 05/25/2021                       By: /s/ Amy L. Bennecoff Ginsburg
11                                              Amy L. Bennecoff Ginsburg, Esq.
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